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UNITED STATES DISTRICT COURT 0% ok
EASTERN DISTRICT OF NEW YORK
BROOKLYN OFFICE
xX
IRYNE WITEK,
Plaintiff NOT FOR PUBLICATION
am MEMORANDUM & ORDER
-against- 12-CV-981 (CBA)(VVP)
CITY OF NEW YORK, et al.,
Defendants.
x

AMON, Chief United States District Judge:

Plaintiff Iryne Witek brought this employment discrimination action pursuant to Title VII
of the Civil Rights Act of 1964, 42 U.S.C. § 2000-e et seg., and 42 U.S.C §§ 1981, 1983 on
February 29, 2012. (Docket Entry (“D.E.”) # 1.) Now before the Court is a comprehensive Report
and Recommendation (“R&R”) from the Honorable Viktor V. Pohorelsky, United States
Magistrate Judge, addressing a motion by Witek’s former counsel, the Law Offices of Anthony J.
Colleluori & Associates, PLLC (“former counsel”), to set the amount of a charging lien asserted
along with their motion to withdraw as counsel, (D.E. # 49). For the reasons set forth below, the
Court adopts the R&R to the extent that it recommends assessing the charging lien in the quantum
meruit amount of $75,946.00.

BACKGROUND

The Court assumes familiarity with the facts and protracted procedural history of this case,
(see R&R at 1-2), but briefly recounts those proceedings relevant to Magistrate Judge
Pohorelsky’s recommendation. Former counsel’s motion to withdraw was granted on January 9,
2014. (D.E. #53.) Prior to that withdrawal, the parties had reached an apparent settlement

agreement with a total recovery to Witek of $140,000.00. (See R&R at 8.) When Witek later
refused to accept this agreement, former counsel sought the Court’s leave to withdraw—in large
part because former counsel was unable to deny having in fact accepted the settlement on their
client’s behalf. (See R&R at 2; D.E. #49.)

Replacement counsel continued settlement discussions, which eventually culminated in an
agreement to the previously agreed-upon monetary award with some modification of non-
monetary terms. (See R&R at 8.) Asa result, the parties stipulated to dismissal, (D.E. #79), and
the Court dismissed the case on September 4, 2014, (D.E. # 80). Shortly thereafter, Witek again
refused to accept the agreed-upon settlement and moved to reopen the case, (D.E. # 98), a motion
that is presently pending.

Magistrate Judge Pohorelsky has recommended a two-tiered approach to assessing the
charging lien depending on the outcome of Witek’s pending motion to reopen the case. Should
that motion be denied and the existing settlement—pursuant to which Witek will recover the same
amount originally negotiated by former counsel—remain in place, Magistrate Judge Pohorelsky
recommends that former counsel’s charging lien be assessed in the amount of $44,666.97. Should
the case be reopened, however, Magistrate Judge Pohorelsky recommends that former counsel’s
charging lien be assessed in the lodestar amount of $75,946, to be paid out of any recovery Witek
may thereafter obtain.

STANDARD OF REVIEW

When deciding whether to adopt a report and recommendation, a district court “may accept,
reject, or modify, in whole or in part, the findings or recommendations made by the magistrate
judge.” 28 U.S.C. § 636(b)(1). To accept those portions of the R&R to which no timely objection
has been made, “a district court need only satisfy itself that there is no clear error on the face of

the record.” Jarvis v. N. Am. Globex Fund, L.P., 823 F. Supp. 2d 161, 163 (E.D.N.Y. 2011)
(internal quotation marks and citation omitted). When specific objections are made, “tlhe district

judge must determine de novo any part of the magistrate judge’s disposition that has been properly

 

objected to.” Fed. R. Civ. P. 72(6)(3).
DISCUSSION

Witek, now proceeding pro se, filed a letter responding to the R&R on April 7, 2015,!
(D.E. # 107), which the Court liberally construes as timely raising two objections: (1) that one of
her former attorneys, Anthony Colleluori, did not actually help her and that the only lawyer who
worked hard on her case was Colleluori’s associate, Alena Shautsova; and (2) an apparent claim
that she has already made payments of $10,000 to former counsel, and that the lien should be
reduced by this amount accordingly. Former counsel responded to Witek’s letter, explaining that
the payments Witek identifies were made in connection with a previous, unrelated representation,
(see D.E. #108), but has not objected to the R&R.

Witek’s first objection amounts to a general and conclusory assertion that Colleluori did
not work hard on her case. Although “[t]he objections of parties appearing pro se are generally
accorded leniency,” Williams v. Woodhull Med. & Mental Health Ctr., 891 F. Supp. 2d 301, 310
{E.D.N.Y. 2012} (internal quotation marks and quotations omitted), “even a pro se party’s
objections to a Report and Recommendation must be specific and clearly aimed at particular
findings in the magistrate’s proposal, such that no party be allowed a second bite at the apple by
simply relitigating a prior argument,” Brown v. Smith, No. 09-CV-4522, 2012 WL 511581, at *2
(E.D.N.Y. Feb. 15, 2012) (quoting Pinkney v. Progressive Home Health Servs., No. 06-CV-5023,
2008 WL 2811816, at *1 (S.D.N.Y. July 21, 2008)). Witek has not specifically objected to any of

the work attributed to former counsel or offered any evidence challenging the authenticity of

 

' Witek appears to continue her objections by letter dated April 20, 2015, (see D.E. # 109). Given Witek’s pro se
status, the Court has liberally construed that letter, although not timely submitted, along with her initial objections.
former counsel’s time records. As such, the Court declines to entertain Witek’s vague, conclusory,
and wholly unsubstantiated claims about Colleluori’s performance.

Witek next objects that she has already paid former counsel $10,000. At the outset, the
Court notes that one payment Witek identifies, in the amount of approximately $6,000, was
ordered by Magistrate Judge Pohorelsky to satisfy a retaining lien properly asserted by former
counsel at the time of their withdrawal. (D.E. #75; see R&R at 1 n.1.) With respect to the
remaining $4,000 of alleged payments, a cursory review of the supporting materials submitted by
Witek reveals that at least some of these payments predate the present action. Moreover, the dates
appear to have been altered on at least some of the check copies Witek provided. Even construed
liberally, the Court cannot identify a specific legal objection from this record—much of which
does not appear to have been presented to Magistrate Judge Pohorelsky, and thus need not be
considered, Scientific Components Corp. v. Sirenza Microdevices, Inc., No. 03 Civ. 1851, 2006
WL 2524187, at *2 (E.D.N.Y. Aug. 30, 2006) (“In this district and circuit, it is established law
that a district judge will not consider new arguments raised in objections to a magistrate judge's
report and recommendation that could have been raised before the magistrate but were not.”)). In
any event, even if $4,000 was previously tendered to former counsel, this amount is more than
offset by the considerable downward adjustments and conservative estimates employed throughout
the R&R in calculating the appropriate assessment for the charging lien.

Although Witek has not made a specific legal objection to the R&R, in light of her pro se
status and in the interests of abundant caution, the Court has nevertheless reviewed the R&R de
novo. The Court adopts the R&R to the extent that it recommends assessing the charging lien in
the amount of $75,946. This amount is the lodestar figure, supported by Magistrate Judge

Pohorelsky’s detailed calculations, which reflects the quantum meruit value of former counsel’s
services. See Stair v. Calhoun, 722 F. Supp. 2d. 258, 268 (E.D.N.Y. 2010) (“As for the amount at
which the charging lien should be fixed, it is [] well settled in New York that .. . a discharged
attorney may recover the fair and reasonable value of the services rendered, determined at the time
of the discharge and computed on the basis of quantum meruit.”); Cohen v. Grainger, Tesoriero &
Bell, 81 N.Y.2d 655, 658 (1993) (‘[A] discharged attommey may recover the fair and reasonable
value of services rendered determined at the time of discharge and computed on the basis of
quantum meruit,” (internal quotation marks and citation omitted)); People v. Keefe, 50 N.Y.2d
149, 156 (1980) (“[I]f an attorney is discharged without cause he will be allowed a charging lien
upon the proceeds of the lawsuit, the amount to be determined on a quantum meruit basis at the
conclusion of the case.”’).
CONCLUSION
For the reasons set forth above, the charging lien is assessed in the amount of $75,946,

SO ORDERED.

 

~€arol Bagley Amon{ J ,
Chief United States District Judge
Dated: Brooklyn, NY

August | . 2015
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